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                                                            UNITED STATES BANKRUPTCY COURT
                                                               MIDDLE DISTRICT OF FLORIDA
                                                                     TAMPA DIVISION
                                                                    CHAPTER 13 PLAN

                   Darlene S. Sanders
 Debtor(s):        Roland W. Sanders                                                           Case No:    9:14-bk-02840


                                                   [    AMENDED          Amended (if applicable)] Chapter 13 Plan

CHECK ONE:

             X The Debtor1 certifies that the Plan does not deviate from the model plan adopted by the Court at the time of the filing
of this case. Any nonconforming provisions are deemed stricken.

             The Plan contains provisions that are specific to this Plan in Additional Provisions, paragraph 8(e) below. Any
nonconforming provisions not set forth in paragraph 8(e) are deemed stricken.

1. MONTHLY PLAN PAYMENTS: Plan payments include Trustee's fee of 10% and shall begin thirty (30) days from
filing/conversion date. The Debtor shall make payments to the Trustee for the period of 36 months. In the event the Trustee does
not retain the full 10%, any portion not retained will be paid to unsecured creditor's pro rata under the plan:

 A.         $ 2,183.00                                    for months       1             through    7         ;
 B.         $ 700.00                                      for months       8             through    13        ;
 C.         $ 100.00                                      for months       14            through    36        ;


in order to pay the following creditors:

2. ADMINISTRATIVE ATTORNEY FEE: $                                    4,100.00   TOTAL PAID $          1,500.00

Balance Due $           2,600.00         Payable Through Plan $             371.43   Monthly

3. PRIORITY CLAIMS: [as defined in 11 U.S.C. §507]

 Name of Creditor                                                                                                                  Total Claim
 -NONE-

4. TRUSTEE FEES: Trustee shall receive a fee from each payment received, the percentage of which is fixed periodically by the
United States Trustee.

5. SECURED CLAIMS:

           Pre-Confirmation payments allocated to secured creditors under the Plan, other than amounts allocated to cure arrearages, shall be deemed
adequate protection payments. To the extent the Debtor makes such pre-confirmation payments, secured creditors who have filed proofs of claim
prior to the claims bar date or within 14 days from the date of an order converting or dismissing this case, whichever date is earlier, shall have an
administrative lien on such payment(s), pro rata with other secured creditors, subject to objection by the Debtor or Trustee.

           (A) Claims Secured by Real Property Which Debtor Intends to Retain / Mortgage Payments and Arrears, If Any, Paid Through the
Plan: If the Plan provides for the curing of prepetition arrearages on a mortgage, the Debtor will pay, in addition to all other sums due under the
proposed Plan, all regular monthly post-petition mortgage payments to the Trustee as part of the Plan. These mortgage payments, which may be
adjusted up or down as provided for under the loan documents, are due beginning the first due date after the case is filed and continuing each month
thereafter. The Trustee shall pay the post-petition mortgage payments on the following mortgage claims:

 Name of Creditor                              Collateral                                          Regular Monthly Pmt.          Arrearages (if any)
 -NONE-




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    All references to "Debtor" include and refer to both of the debtors in a case filed jointly by two individuals.
                                                                                     1
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          (B) Claims Secured by Real Property/Debtor Intends to Seek Mortgage Modification: Pending the resolution of a mortgage
modification request, the Debtor shall make the following adequate protection payments to the Trustee, calculated at 31% of the Debtor's gross
monthly income. Absent further order of this Court, the automatic stay shall terminate effective 6 months after the filing of the Debtor's bankruptcy
petition:

 Name of Creditor                                              Collateral                                                    Payment Amt (at 31%)
 Bank Of America, N.A.                                         Location: 2464 Andrew Drive, Naples FL 34112                                600.00
                                                               Little House
 Nationstar Mortgage                                           Location: 2416 Andrew Drive, Naples, FL 34112                                 1,135.00

            (C) Liens to be Avoided/Stripped:

 Name of Creditor                                              Collateral                                                          Estimate Amount
 Real Time Resolutions                                         Location: 2464 Andrew Drive, Naples FL                                    13,435.31
                                                               34112
                                                               Little House

         (D) Claims Secured by Real Property or Personal Property to Which Section 506 Valuation APPLIES: Pursuant to 11 U.S.C. §
1322(b)(2), this provision does not apply to a claim secured solely by the Debtor's principal residence. The secured portion of the claim, estimated
below, and to be determined in connection with a motion to determine secured status, shall be paid as follows:

 Creditor                             Collateral                                             Value              Payment           Interest @_____%
 -NONE-

         (E) Claims Secured by Real Property and/or Personal Property to Which Section 506 Valuation DOES NOT APPLY: Claims of the
following secured creditors shall be paid in full with interest at the rate set forth below as follows.

 Creditor                             Collateral                                           Balance             Payment            Interest @_____%
 -NONE-

            (F) Claims Secured by Personal Property / Regular Payments and Arrearages, if any, Paid in Plan:

 Name of Creditor                              Collateral                                               Regular Payment                   Arrearages
 -NONE-

           (G) Secured Claims/Lease Claims Paid Direct by the Debtor: The following secured claims/lease claims are to be paid direct to the
creditor or lessor by the Debtor outside the Plan. The automatic stay and any codebtor are terminated in rem as to these creditors and lessors upon the
filing of this Plan. Nothing herein is intended to terminate or abrogate the Debtor’s state law contract rights. The Plan must provide for the
assumption of lease claims in the Lease/Executory Contract section below.

 Name of Creditor                                                                 Property/Collateral
 Regions Bank                                                                     Location: 3150 Binnacle Drive Unit 318, Naples, FL 34103

          (H) Secured Claims/Lease Claims Not Provided for Under the Plan: The following secured claims/leased claims are not provided for
under the Plan. As such the automatic stay and any codebtor stay do not apply and the Debtor's liability to the creditor is NOT DISCHARGED under
the Plan. Nothing herein is intended to abrogate the Debtor's state law contract rights.

 Name of Creditor                                                                 Property/Collateral
 -NONE-

           (I) Surrender of Collateral/Leased Property: Debtor will surrender the following collateral/leased property no later than thirty (30) days
from the filing of the petition unless specified otherwise in the Plan. The automatic stay and any codebtor stay are terminated in rem as to these
creditors and lessors upon the filing of this Plan. The Plan must provide for the rejection of lease claims in the Lease/Executory Contract section
below.

 Name of Creditor                                                          Property/Collateral to be Surrendered
 -NONE-

6. LEASES/EXECUTORY CONTRACTS:

 Name of Creditor               Property                                   Assume/Reject-Surrender                              Estimated Arrears
 -NONE-

7. GENERAL UNSECURED CREDITORS: General unsecured creditors with allowed claims shall receive a pro rata share of the balance of any
funds remaining after payments to the above referenced creditors or shall otherwise be paid pursuant to the provisions of a subsequent Order

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Confirming Plan. The estimated dividend to unsecured creditors is $    6,790.94     .

8. ADDITIONAL PROVISIONS:

(a) Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing such claims;

(b) Payments made to any creditor shall be based upon the amount set forth in the creditor's proof of claim or other amount as may be
allowed by a specific Order of the Bankruptcy Court.

(c) Property of the estate (check one)*

            (1)      X shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case, unless the Court orders
                  otherwise; or

            (2)          shall vest in the Debtor upon confirmation of the Plan.

            *If the Debtor fails to check (1) or (2) above, or if the Debtor checks both (1) and (2), property of the estate shall not vest in
            the Debtor until the earlier of the Debtor’s discharge or dismissal of this case, unless the Court orders otherwise.

(d) The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. The Trustee shall only make payment
to creditors with filed and allowed proof of claims. An allowed proof of claim will be controlling, unless the Court orders otherwise.


(e) Case Specific Provisions:



 /s/ Darlene S. Sanders                                                                 Dated: October 29, 2014
        Debtor

 /s/ Roland W. Sanders                                                                  Dated: October 29, 2014
        Debtor




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                                                      UNITED STATES BANKRUPTCY COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              FT. MYERS DIVISION
                                                              www.flmd.uscourts.gov

 In re:                                                                                      Case No. 9:14-bk-02840-FMD
                                                                                             Chapter 13

Darlene S. Sanders
Roland W. Sanders

Debtors*
__________________________/



                       CERTIFICATE OF SERVICE AMENDED CHAPTER 13 PLAN
         I hereby certify that on October 29, 2014, a copy of the Amended Chapter 13 Plan was served
 electronically or by regular United States mail to all interested parties, the Trustee and all creditors listed
 below.
 Bank Of America, N.A., 4161 Piedmont Pkwy, Greensboro, NC 27410
 Butler & Hosch, P.A., 3185 S. Conway Rd.,Ste. E, Orlando, FL 32812
 CALVARY PORTFOLIO, P.O. BOX 27288, Tempe, AZ 85285
 Robertson Anschutz & Schneid, The Bank New York Mellon, 6409 Congress Ave., Ste. 100, Boca Raton, FL 33487
 Gladstone Law Group, PA, 1449 W. Palmetto Park Road, Suite 300, Boca Raton, FL 33486
 Midland Funding, 8875 Aero Drive, STE. 200, San Diego, CA 92123
 Nationstar Mortgage, 350 Highland Drive, Lewisville, TX 75067
 Real Time Resolutions, 4161 Piedmont Pkwy, Greensboro, NC 27410
 Real Time Resolutions, P.O. Box 35888, Dallas, TX 75235
 Regions Bank, PO BOX 11007, Birmingham, AL 35288
 Capital One Bank (USA) N.A. c/o Zakheim & LaVrar, P.A., 1045 S. University Drive, Ste. 202, Ft. Lauderdale, FL 33324
 Capital One Bank (USA) N.A., 1680 Capital One Drive, Mc Lean, VA 22102



                                                                      /s/ Pamela Stewart
                                                                      Pamela Stewart, J.D., LL.M.
                                                                      Florida Bar No.: 0021938
                                                                      Attorney for Debtor(s)
                                                                      Stewart Law Firm, PLC
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